Case 3:16-md-02738-MAS-RLS           Document 32022        Filed 04/22/24     Page 1 of 2 PageID:
                                          181100



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT NEW JERSEY




   IN RE JOHNSON & JOHNSON TALCUM
   POWDER PRODUCTS MARKETING,                         MDL NO. 16-2738 (MAS) (RLS)
   SALES PRACTICES, AND PRODUCTS
   LIABILITY LITIGATION




     DEFENDANT’S NOTICE OF INTENT TO SERVE SUBPOENA ON NON-PARTY

         PLEASE TAKE NOTICE that, pursuant to Rule 45(a)(4) of the Federal Rules of Civil

  Procedure, Defendant Johnson & Johnson hereby gives notice of its intent to serve the following

  subpoena, attached hereto as Exhibit A:

         1. Subpoena to Testify at a Deposition in a Civil Action to Paul Hess.



  Dated: April 22, 2024


                                                     /s/Susan M. Sharko
                                                     Susan M. Sharko
                                                     FAEGRE DRINKER
                                                     BIDDLE & REATH LLP
                                                     600 Campus Drive
                                                     Florham Park, New Jersey 07932
                                                     Telephone: 973-549-7000
                                                     Facsimile: 973-360-9831
                                                     Email: susan.sharko@faegredrinker.com

                                                     s/Gene M. Williams
                                                     Gene M. Williams
                                                     SHOOK, HARDY & BACON L.L.P.
Case 3:16-md-02738-MAS-RLS   Document 32022   Filed 04/22/24    Page 2 of 2 PageID:
                                  181101



                                         JPMorgan Chase Tower
                                         600 Travis St., Suite 3400
                                         Houston, TX 77002
                                         Telephone: 713-227-8008
                                         Facsimile: 713-227-9508
                                         Email: gmwilliams@shb.com

                                         s/John H. Beisner
                                         John H. Beisner
                                         SKADDEN, ARPS, SLATE,
                                         MEAGHER & FLOM LLP
                                         1440 New York Avenue, N.W.
                                         Washington, D.C. 20005
                                         Telephone: 202-371-7000
                                         Facsimile: 202-661-8301
                                         Email: john.beisner@skadden.com

                                         Attorneys for Defendants Johnson & Johnson
                                         and LLT Management, LLC, f/k/a LTL
                                         Management, LLC.




                                     2
